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                                                                    REISSUED FOR PUBLICATION
                                                                                   SEP 8 2017
                                                                                    OSM
                                                                        U.S. COURT OF FEDERAL CLAIMS
        3Jn tbe mlniteb ~tates QCourt of jfeberal QClaims
                               OFFICE OF SPECIAL MASTERS
                                       No. 14-llOV
                                       Filed: August 14, 2017

    * * * * * * * * * * * * * * *
    EMILEE M. LESTER,           *                      UNPUBLISHED
                                *
             Petitioner,        *                      Interim Attorney's Fees and Costs;
    V.                          *                      Withdraw of Counsel ; Respondent Does
                                *                      Not Object; Excessive Hours Billed.
    SECRETARY OF HEALTH         *
    AND HUMAN SERVICES,         *
                                *
             Respondent.        *
                                *
                                *
    * * * * * * * * * * * * * * *
Andrew Krueger, Esq., Krueger & Hernandez S. C., Middleton, WL for petitioner.
Debra Begley, Esq. , US Department ofJustice, Washington, DC, for respondent.

               DECISION ON INTERIM ATTORNEY'S FEES AND COSTS'

Roth, Special Master:

        On February 7, 20 14, Madison and Sarah Lester filed a petition on behalf of their then-
minor child, 2 Emilee M. Lester ("M s. Lester" or "petitioner"), for compensation under the National
Vaccine Injury Compensation Program, 42 U.S. C. §3 00aa-10 et seq .3 (the "Vaccine Act" or
" Program"). Petitioner alleged that she developed "abdominal pain, neck and back pain, joint pain,


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, it
will be posted on the U nited States Court of Federal Claims' website, in accordance with the £-
Government Act of 2002 (codified as amended at 44 U .S.C. § 350 1 note (2012)) . In accordance
with Vaccine Rule 18(b), petitioner has 14 days to identify and move to delete medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the ide ntified material fits within this definition, I will delete such material
from public access.
2
 Emi lee M. Lester turned 18 years old on November 9, 20 16, and was substituted in as petitioner
on January 23 , 2017. See Order, ECF No. 46.
3
  National C hildhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755 ( 1986).
Hereinafter, for ease of citation, all "§" references to the Vaccine Act will be to the pertinent
subparagraph of 42 U.S.C. § 300aa (2012).
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headaches, and myofascial pain" after receiving human papillomavirus ("HPV") vaccinations on
July 27, 20 10, September 30, 2010, and February 4, 20 11. See Petition ("Pet"), ECF No. 1, at 1-2.

        On July 19, 20 17, petitioner's counsel, Mr. Andrew Krueger, filed a motion for interim
attorneys' fees and costs ("Motion for Fees") requesting attorneys' fees in the amount of25,077.20
and attorneys' costs in the amount of $1,951.89, for a total amount of $27,029.09. Motion for Fees,
ECFNo. 5 1,at5.

        On August 7, 2017, respondent filed a response to petitioners' Motion for Fees. Response,
ECF No . 53. Respondent provided no specific obj ection to the amount requested or hours worked ,
but instead, "defers to the Special Master to determine whether or not petitioner has met the legal
standard for an interim fees and costs award" but was otherwise "sati sfied the statutory
requirements for an award of attorneys' fees and costs are met in this case." Response at 2.
Petitioner filed a Reply on August 14, 2017. ECF No. 54.

         After careful consideration, the undersigned has determined to grant the request in part
fo r the reasons set forth below.

                                    I.   Procedural History

        Th is case was filed on February 7, 2014 and was initially assigned to now-Chief Special
Master Dorsey. 4 ECF. No. 1-2. Petitioner filed several medical records, including her vaccine
records on April 7, 2014. Pet. Ex. 1-5, ECF No. 6. Thereafter, petitioner requested and was granted
four extensions of time ("MFET") within which to file the outstanding medical records until the
record was completed on March 5, 2015. See MFET, ECF Nos. 8, 11 , 16, 18; Order, ECF Nos . 9,
12, 17, 19; Pet. Ex. 6-11, ECF Nos. 10, 15, 20; Statement of Completion, ECF No. 2 1.

       On April 6, 2015, respondent filed a status report stating that respondent believed the
record to be substantially complete but settlement discussions would be premature at that time.
Respondent Status Report ("Res. S.R."), ECF No. 22.

        On June 5, 2015, respondent filed a Rule 4 report ("Rule 4 Rpt."). Respondent submitted
that petitioner had not alleged a specific diagnosis, but had only alleged pain, which was a
symptom of an underlying cause. Accordi ng to respondent, there were many alleged diagnoses in
the medical records but petitioner did not allege that any of these specific condition were caused
by her vaccinations. Rule 4 Rpt. at 7-8, ECF No. 24. Additionally, respondent stated that many of
petitioner's symptoms began outside the statute of limitations. According to respondent, the
petition was filed on February 7, 2014, so petitioner could only seek compensation fo r any injuries
that began a fter February 7, 2011. If petitioner suffered any inj ury that occurred more than 36
months before the filing of her petition, petitioner's claim was time barred. See Cloer v. HHS, 654
F. 3d. 1322, 1325 (Fed. Cir. 20 11), cert. denied, 132 S. Ct. 1908 (2012). Rule 4 Rpt. at 8-9. More
specifically, the medical records indicated that petitioner's abdominal pain, shoulder pain,
headaches, and neck pain all began before February 4, 20 11 , the date of the third HPV vaccination.


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    Special Master Dorsey was elevated to Chief Special Master on September 1, 20 15.


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Id. at 9; Pet. Ex. 2 at 17, 37; Pet. Ex. 4 at 21; Pet. Ex. 5 at 20-22, 49. Respondent further suggested
several possible alternative causes for petitioner's symptoms. Rule 4 Rpt. at 9-1 0.

         Following a Rule 5 status conference on July 21 , 2015, petitioner was ordered to file
medical records that remained outstanding and a status report address ing petitioner' s lack of a
diagnosis by September 4, 2015. Scheduling Order, ECF No. 25. Petitioner was ordered to fi le an
expert report by October 19, 2015. 5 Id. On September 3, 2015 , petitioner fi led a Motion for
Extension of Time until ovember 6, 2015, to fil e outstanding medical records and a status report;
thi s request was granted. Fifth MFET, ECF No . 26; Order, ECF No . 27.

       On October 21 , 2015 , this case was reassigned to me. ECF No. 29.

        On November 4, 2015, petitioner filed her outstanding medical records. Pet. Ex. 12- 15 ,
ECF No . 30. The following day, petitioner filed a status report stating that all outstanding medical
records had been fil ed, and "petitioner intended to pursue an aggravation and/or direct cause claim
of premature ovarian failure as soon as diagnosed [by a] treating doctor and/or petitioner' s expert."
Pet. S.R., ECF No. 31. Petitioner filed an additional status report on December 7, 2015, requesting
30 days to discuss w ith her counsel the difficulty linking the vaccine to an injury, and her options
for moving forward . Pet. S.R., ECF N o. 32. Petitioner further advised that she was still waiting on
an opinion from an expert as to whether this was a premature ovarian insufficiency case. Id.
Petitioner was ordered to file a status report by January 6, 2016. Non-PDF Scheduling Order,
issued Dec. 7, 2015.

        In petitioner's January 6, 2016 status report, petitioner requested 30 days to discuss the
lack of a diagnosis of premature ovarian insufficiency and possible options for moving forward;
this request was granted. 6 Pet. S.R., ECF No. 33; on-PDF Scheduling Order, issued Jan. 11 , 20 16.
Petitioner filed a status report on February 8, 2016, requesting that the court allow petitioner 45
days to advise the court as to how petitioner intended to proceed. 7 Pet. S.R., ECF No. 34. The
status report also noted that petitioner would like to see her primary care physician again before
making a decision on whether to move forward. Id. Petitioner was ordered to file a status report
by March 28, 2016. Non-PDF Scheduling Order, issued Feb. 10, 2016.


5Petitioner's billing records indicate that an expert was not contacted until November 30, 2015 ,
when Mr. Mark Krueger sent a letter to Dr. Shoenfeld regarding serv ing as an expert witness.
Motion for Fees, Tab 1, ECF o. 51-1 , at 10.

6
 Petitioner's billing records indicate that Mr. Krueger and Ms. Nehring made telephone calls to
petitioner on December 15, 16, 17, and 29, to discuss the lack of an expert to opine in this matter
and the options for proceeding with or dismiss ing thi s claim. Motion for Fees, Tab 1, ECF No. 51 -
1 at 6. Mr. Krueger also sent a letter to petitioner regarding the inability to link her injury to a
vaccination and the need to dismiss her claim. Id.

7
 Petitioner' s billing records indicate that Mr. Krueger and Ms. Nehring made telephone calls to
petitioner on January 6, 19, and 28, and February 2, regarding the issues with her case. Motion for
Fees, Tab 1, ECF No. 51 - 1at10-1 1.


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        On March 23, 2016, petitioner filed a status report stating that she would like to see an
OB/GYN and a rheumatologist. Pet. S.R., ECF No. 36. She also filed a motion fo r extension of
time until July 15, 20 16, to allow time to obtain the results and records from those appointments;
this request was granted. Sixth MFET, ECF No. 35; on-PDF Order, issued Mar. 23, 2016.
Petitioner filed status reports on July 13, 2016 and August 15, 2016, updating the court on
petitioner's ongoing medical treatment at Cincinnati Children's Hospital. Pet. S.R., ECF No. 37;
Pet. S.R., ECF No. 39. Petitioner also filed medical records from Cincinnati Children's Hospital
on August 15, 20 16, which indicated that petitioner would be undergoing testing for postural
orthostatic tachycardia syndrome ("POTS").

        A status conference was held on August 23, 20 16, during which the undersigned suggested
that, counsel may want to consider amending the petition to include POTS as one of petitioner' s
alleged injuries. 8 Scheduling Order, ECF No. 40. Mr. Mark Krueger stated that, since petitioner
did not have a definitive diagnosis of her injury, he would like to wait for the results of her
upcoming testing for POTS. Id. at 1. Petitioner was ordered to fi le the records of her POTS testing
by October 24, 2016. Id. at 2. After requesting and receiving an extension of time, petitioner fil ed
medical records from Cincinnati Children 's Hospital on October 27, 20 16, which indicated that
she was diagnosed with POTS. Seventh MFET, ECF No. 41 ; Non-PDF Order, issued Oct. 24,
20 16; Pet. Ex. 17, ECF No. 42.

        A status conference was held on December 21 , 20 16, during which the parties discussed
petitioner' s co-morbidities, petitioner' s ultimate diagnosis, inconsistencies with petitioner's
med ical history, the timing of onset of symptoms, missing medical records from the Mayo C linic,
and petitioner' s lack of an expert report. Scheduling Order, ECF No. 43. Mr. Mark Krueger
indicated that petitioner's records were being reviewed by an expert. 9 Id. at 2. Petitioner was
ordered to file a status report indicating whether she received treatment from the Mayo C linic by
January 23, 20 17 and indicating how petitioner intended to proceed by March 21, 20 17. Id.
Petitioner filed a status report on January 23, 20 17, advising that she did not receive treatment at
the Mayo Clinic, along with a Motion to Amend/Correct the Caption to reflect that petitioner was
no longer a minor and should be substituted as petitioner. Pet. S.R., ECF No. 44; Motion to
Amend/Correct Caption, ECF No. 45. This Motion was granted. ECF No. 46.

       On March 20, 20 17, petitioner filed a status report informing the court that the medical
expert who was reviewing petitioner's medical fi les declined to assist in the case on grounds other
than the facts of the case. Pet. S.R., ECF No. 47. Petitioner continued to reach out to other experts

8
  In his application for interim attorneys' fees and costs, petitioner's counsel incorrectly states that
petitioner filed an Amended Petition in January of 20 l 7, alleging that she developed Ehlers-Danlos
Syndrome with associated chronic pain, autonom ic dysfunction with postural orthostatic
tachycardia syndrome ("POTS") as a result of receiving the HPV vaccination. See Motion for Fees,
ECF No. 5 1, at 1-2. Petitioner did not file an amended petition; she filed a motion to amend the
case caption. See Motion to Amend/Correct Caption, filed Jan. 23, 20 17, ECF No. 45.
9
 Petitioner ' s billing records indicate that, between the time that Dr. Shoenfeld and Dr. Hamiel
decl ined to opine in this matter and the status conference held on December 23, 2016, no
alternative expert was contacted to review petitioner's medical records. Motion for Fees, Tab 1,
ECF No. 5 1-1 , at 10-13.
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to assist with the case, but at the time of the status report had not been able to retain a new expert.
Id. The status report also noted that petitioner's counsel advised petitioner of the court's concerns
with the case. Id. Petitioner was provided with options for proceeding, including dismissing the
claim, proceed ing without counsel, and proceeding with the claim if an expert witness could be
retained. Id. Petitioner was provided with that information two weeks prior to the status report, but
had not yet provided counsel with a response. Id. Petitioner's counsel requested and was granted
30 days to either inform the court that an expert witness was willing to opine on the case, or a
status report indicating w hether petitioner wo uld like to dismiss the case. Id; see also on-PDF
Order, issued Mar. 20, 20 17.

        Petitioner fil ed a status report on April 8, 2017, informing the court that petiti oner had been
unable to locate an expert wi ll ing to assist with the case. Pet. S.R., ECF No. 48. Petitioner also
informed the court that petiti oner's counsel had sent a letter to petitioner and her mother indicating
multiple concerns with the case. Id. Petitioner's mother responded to counsel, informing him that
petitioner was still being diagnosed with additional injuries. Id. Petitioner's counsel advised
petitioner that it is unlikely he could continue to represent her in this claim and that petitioner could
either dismiss the case, or continue on her own or with other counsel. Id. Petitioner requested 30
days to notify the court on how petitioner would like to proceed. Id. Petitioner was originally given
until May 18, 20 17 to file the status report, but this deadline was later moved to June 19, 2017,
and again to July 19, 2017. 10 Non-PDF Order, issued Apr. 8, 20 17; Non-PDF Order, issued May
4, 2017; Non-PDF Order, issued May 9, 20 17.

         On July 6, 20 17, petitioner filed a Motion to Substitute Attorney for Andrew M. Krueger
in place of Mark . L. Krueger. Motion to Substitute, ECF No. 49. The motion was submitted in
accordance with Vaccine Rule 14(c) and R. Ct. Fed. Cl. 83.l(c)(4)(ii). Id. at l. The Motion stated
that, "it is understood by [petitioner] and Andrew M. Krueger, that Andrew Krueger is only being
retained as the Attorney of Record in order to file a motion for Interim Fees. Upon completion of
the fees request, it is understood that Andrew Krueger, and Krueger & Hernandez, S.C. will
withdraw as counse l." Id. at 3. The Motion to Substitute was granted on July 6, 20 17. Non-PDF
Order, issued July 6, 20 17.

       Peti tioner filed a status report on July 19, 20 17, informing the court that petitioner's
counsel would be fi ling for fees and withdrawing as counsel. Pet. S.R., ECF No. 50. The court was
informed that petitioner wou ld continue with her claim either prose, or with alternative counsel.
Id.

       That same day, a Motion for Interim Attorneys' Fees and Costs as well as a Motion to
Withdraw as Attorney was filed. Motion for Fees, ECF No. 51; Motion to Withdraw, ECF No . 52.
Respondent filed a response to petitioner 's Motion for Fees on August 7, 20 17. Response, ECF
No. 53. Petitioner fi led a reply on August 14, 20 17, reiterating her request for interim fees . Reply,
ECF No . 54.




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     These extensions were granted due to the unfortunate passing of Mr. Mark Krueger.
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                                       II.      Applicable Law

       The Vaccine Act permits an award of "reasonable attorneys' fees" and "other costs."
§ 15(e)(l). If a petitioner succeeds on the merits of his or her claim, the award of attorneys' fees
is automatic. Id. ; see Sebelius v. Cloer, 133 S. Ct. 1886, 1891 (20 13). However, a petitioner need
not prevai l on entitlement to receive a fee award as long as the petition was brought in "good faith"
and there was a "reasonable basis" for the claim to proceed.§ 15(e)(l).

         Additionally, interim fees may be paid at the discretion of the special master. See Avera v.
Sec'y of Health & Human Servs., 515 F.3d 1343, 1352 (Fed. Cir. 2008)(" Interim fees are
particularly appropriate in cases where proceedings are protracted and costly experts must be
retained"). Interim fees are particularly appropriate when it is established, "that the cost of
litigation has imposed an undue hardship and there exists a good faith basis for the claim." Shaw
v. Sec'y of Health & Humans Servs. , 609 F.3d 1372, 1375 (Fed. Cir. 2010).

        The Federal Circuit has endorsed the use of the lodestar approach to determine what
constitutes "reasonable attorneys' fees " and "other costs" under the Vaccine Act. Avera v. Sec'y
ofHealth & Human Servs., 515 F.3d 1343 , 1349 (Fed. Cir. 2008). Under this approach, "an initial
estimate of a reasonable attorneys ' fees" is calculated by " multiplying the number of hours
reasonably expended on the litigation times a reasonable hourly rate." Id. at 1347-48 (quoting Blum
v. Stenson , 465 U.S. 886, 888 (1984)). That product is then adjusted upward or downward based
on other specific findings. Id.

        Special masters have substantial discretion in awarding fees and may adjust a fee request
sua sponte, apart from objections raised by respondent and without providing petitioners with
notice and opportunity to respond. See Sabella v. Sec 'y of Health & Human Servs., 86 Fed. Cl.
20 1, 209 (Fed. Cl. 2009). Special masters need not engage in a line-by-line analysis of petitioner's
fee application when reducing fees. See Broekelschen v. Sec'y of Health & Human Servs., 102
Fed. Cl. 719, 729 (Fed. Cl. 2011).

                                         III.     Discussion

        A. Interim Fees are Appropriate in this Case

         Interim attorneys' fees have been found to be appropriate under the Vaccine Act due to a
number of c ircumstances, including when petitioner's counsel plans to withdraw from the case.
See Woods v. Sec'y of Health & Human Ser vs. , I 05 Fed. Cl. 148 , 154 (Fed. Cl. 20 12)(affirming
that interim fees may be granted when counsel withdraws from the case and petitioner continues
to pursue the case, which would otherwise require petitioner's withdrawing counsel to wait for an
unknown end date of litigation); see, e.g., Davis v. Sec 'y ofHealth & Human Servs., No. l 5-277V,
2016 WL 3999784, at *3 (Fed. Cl. Spec. Mstr. July 5, 20 l 6)(finding it appropriate to award interim
fees fo r the petitioner's attorney who was withdrawing from the case); Becker v. Sec'y of Health
& Humans Servs., No. 13-687, 2014 WL 4923 160, at *7 (Fed. Cl. Spec. Mstr. Sept. 11 ,
2014)(noting that other special masters and the Court of Federal Claims have found the withdrawal
of counsel can constitute an undue hardship).



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        This petitioner intends to pursue her claim either prose or with the assistance of another
attorney. Pet. S.R., ECF No. 50. Although I do not find the present proceedings to be protracted, I
do find that withdrawing counsel may face undue hardship in getting petitioner's cooperation at
the end of this matter. I therefore find that resolving counsel ' s attorneys' fees and costs at this time
is warranted.

        B. Reasonable Hourly Rate

        A "reasonable hourly rate" is defined as the rate "prevai ling in the community for similar
services by lawyers of reasonably comparable skill , experience and reputation." Avera, 515 F.3d
at 1348 (quoting Blum, 465 U.S. at 896 n.11). In general, this rate is based on "the forum rate for
the Di stri ct of Columbia" rather than "the rate in the geographic area of the practice of petitioner's
attorney." Rodriguez v. Sec 'y of Health & Human Servs., 63 2 F.3 d 1381 , 1384 (Fed. Cir. 2011 )
(citing Avera, 515 F. 3d at 1349). There is a " limited exception" that provides for attorney's fees
to be awarded at local hourly rates when "the bulk of the attorney's work is done outside the forum
jurisdiction" and "there is a very significant difference" between the local hourly rate and forum
hourly rate. Id. This is known as the Davis County exception. See Hall v. Sec'y of Health & Human
Servs., 640 F.3d 1351 , 1353 (2011) (citing Davis Cty. Solid Waste Mgmt. & Energy Recove1y
Special Serv. Dist. v. U.S. EPA, 169 F.3d 755, 758 (D.C. Cir. 1999)).

        For cases in which forum rates apply, McCulloch provides the framework for determining
the appropriate hourly rate range fo r attorneys' fees based upon the attorneys' experience. See
McCulloch v. Sec 'y of Health & Human Servs., No. 09-293V, 2015 WL 5634323 (Fed. Cl. Spec.
Mstr. Sept. 1, 20 15). The Office of Special Masters has accepted the deci sion in McCulloch and
has issued a Fee Schedule for subsequent years. 11

       The requested hourly forum rates are consistent with the rates previously found to be
reasonable in cases involving Mr. Mark Krueger, Mr. Andrew Krueger, and Ms. Renee Nehring.
See Herrera v. Sec 'y of Health & Human Servs., No. 15-651 V, 2017 WL 1459002 (Fed. Cl. Spec.
Mstr. Mar. 29, 2017). Therefore, the undersigned finds the requested rates to be reasonable.

     C. Hours Reasonably Expended

         Attorneys' fees are awarded for the "number of hours reasonably expended on the
litigation." Avera, 5 15 F.3d at 1348. Counsel should not include in their fee requests hours that are
"excessive, redundant, or otherwise unnecessary." Saxton ex rel. Saxton v. Sec'y of Health &
Human Servs., 3 F.3 d 1517, 152 1 (Fed . Cir. 1993) (quoting Hensley v. Eckerhart, 461U.S.424,
434 ( 1983)). "Unreasonably duplicative or excessive billing" includes "an attorney billing for a
single task on multiple occasions, multiple attorneys billing for a single task, attorneys billing


11
  T he fee schedules are posted on the Court's website. See Office of Special Masters, Attorneys '
Forum Hourly Rate Fee Schedule: 2015-2016,
http://www.uscfc.uscourts.gov/sites/default/files/Attorneys -Forum-Rate-Fee-Schedule2015-
2016.pdf (last visited Aug. 7, 2017); Office of Special Masters, Attorneys' Forum Hourly Rate
Fee Schedule: 2017, http://www. uscfc.uscourts.gov/sites/default/fi les/ Attorneys-Forum-Rate-
Fee-Schedule20 17.pdf (last visited Aug. 7, 20 17).

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excessively for intra office communications, attorneys billing excessive hours, [and] attorneys
entering erroneous billing entries." Raymo v. Sec 'y of Health & Human Servs., 129 Fed. Cl. 691 ,
703 (2016). While attorneys may be compensated for non-attorney-level work, the rate must be
comparable to what would be paid for a paralegal or secretary. See 0 'Neill v. Sec '.Y of Health &
Human Servs., No. 08-243V, 2015 WL 23992 11 , at *9 (Fed. Cl. Spec. Mstr. Apr. 28, 20 15).
Clerical and secretarial tasks should not be billed at all, regardless of who performs them. See,
e.g., McCulloch, 2015 WL 5634323, at *26. Hours spent traveling are ordinarily compensated at
one-half of the normal hourly attorney rate. See Scoll v. Sec '.Y ofHealth & Human Servs., No. 08-
756V, 2014 WL 2885684, at *3 (Fed. Cl. Spec. Mstr. June 5, 20 14) (collecting cases). And " it is
inappropriate for counsel to bill time for educating themselves about basic aspects of the Vaccine
Program." Matthews v. Sec '.Y of Health & Human Servs., No 14-111lV,2016 WL 28539 10, at *2
(Fed. C l. Spec. Mstr. Apr. 18, 2016). Ultimately, it is "well within the Special Master's discretion
to reduce the hours to a number that, in [her] experience and judgment, [is] reasonable for the work
done." Saxton , 3 F.3d at 1522. In exercising that discretion, special masters may reduce the number
of hours submitted by a percentage of the amount charged. See Broekelschen, 102 Fed. Cl. at 728-
29 (affom ing the Special Master's reduction of attorney and paralegal hours); Guy v. Sec 'y of
Health & Human Servs., 38 Fed. Cl. 403, 406 (1997) (same).

        Upon review of petitioner's application, the undersigned finds that a number of the hours
billed were "excessive, redundant, or otherwise unnecessary. " Saxton, 3 F.3d at 1521. Mr. Andrew
Krueger billed 5 hours for drafting the interim fees appl ication and affidavit. Motion for Fees, Tab
1, ECF No. 51-1 at 14. Ms. Nehring billed 65.9 hours, of which 40.8 of these hours were telephone
communications with the client. Petitioner's attorney billed 6.3 hours of work researching and
drafting an amended petition to include a claim fo r POTS which was never filed with the Court.
Id. at 13-14. For these reasons, the undersigned find s that the requested $25,077 .20 should be
reduced by 20%. Accordingly, $20,061.76 is awarded in attorneys' fees.

     D. Reasonable Costs

        Petitioner has requested $1 ,951.89 in costs, including $1 ,000 in expert fees for Dr. Orit
Hamiel, the $400 filing fee, and $ 197.63 in costs associated with obtaining medical records. See
Motion for Fees, Tab 2-3 , ECF No. 51-1. These costs appear to be reasonable and appropriate in
light of the facts of this case; therefore, I see no need to reduce them.

                                   IV. Total Award Summary

         Based on the foregoing, the undersigned awards the total of $22,013.65, representing
reimbursement for attorneys' fees in the amount of $20,06 1.76 and costs in the amount of
$ 1,95 1.89, in the form of a check made payable jointly to petitioner and petitioner 's counsel,
Andrew M. Krueger, Esq. The Clerk of the Court is directed to enter judgment in accordance with
this Decision. 12




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  Pursuant to Vaccine Rule 1 l(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
                                                  8
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TT TS SO ORDERED.


                                             s/Mindy Michaels Roth
                                             Mindy Michaels Roth
                                             Special Master




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